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In The United States Court of Federal Claims
                                         No. 00-761T

                                    (Filed: May 4, 2012)
                                        _________

MINGO LOGAN COAL CO.,

                     Plaintiff,

       v.

THE UNITED STATES,

                       Defendant.
                                         _________

                                          ORDER
                                         __________


       Oral argument on parties’ motion for summary judgment will be held in this case on
Wednesday, June 6, 2012, at 2:00 p.m. (EDT). Chambers will contact the parties shortly before
the scheduled argument time.

       IT IS SO ORDERED.



                                                  s/ Francis M. Allegra
                                                  Francis M. Allegra
                                                  Judge
